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                                           No. 25-1575


                   IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


                               The Sustainability Institute, et al.,

                                                     Plaintiffs-Appellees,
                                               v.
                                    Donald J. Trump, et al.,

                                                     Defendants-Appellants.


                        On Appeal from the United States District Court
                              for the District of South Carolina


        RESPONSE TO PETITION FOR REHEARING EN BANC OF ORDER
             GRANTING STAY AND INITIAL HEARING EN BANC


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                            INTRODUCTION AND SUMMARY

              This case arises out of agencies’ decisions to pause or terminate grant

        funding to ensure that, where legally permissible, federal funds are not

        supporting activities inconsistent with the President’s policy priorities.

        Plaintiffs, who received funds under affected grants, challenged the

        government’s decisions in district court. The court entered three overlapping

        injunctions requiring the government to restore or maintain plaintiffs’ access

        to funds and forbidding the government from pausing or terminating

        plaintiffs’ grants without first seeking authorization.

              A panel of this Court correctly granted a stay of the injunctions

        pending appeal. The Supreme Court recently held that essentially

        contractual claims like plaintiffs’ must be brought in the Court of Federal

        Claims, not in district court. As the stay panel recognized—and as plaintiffs

        do not now contest—that decision makes clear that plaintiffs’ APA claims

        cannot proceed. Nonetheless, plaintiffs contend that the stay panel erred by

        rejecting plaintiffs’ attempt to repackage the same basic arguments as

        “nonstatutory review” and “constitutional” claims, which plaintiffs believe

        may be brought in district court. And plaintiffs further contend that the stay
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        panel’s rejection warrants en banc review—and that this case warrants initial

        hearing en banc.

              Plaintiffs are incorrect. Throughout their petition, plaintiffs primarily

        argue that constitutional claims challenging grant terminations may be

        brought in district court notwithstanding the Supreme Court’s decision.

        Regardless whether plaintiffs are correct, plaintiffs advance no bona fide

        constitutional claims. Instead, their claims that the agencies’ actions violated

        the separation of powers and the Presentment Clause are statutory claims;

        they rest on plaintiffs’ contention that the agencies’ actions were not

        authorized by the relevant statutes. The Supreme Court has unequivocally

        rejected similar attempts to evade judicial-review limitations by repackaging

        statutory claims as constitutional ones. See Dalton v. Specter, 511 U.S. 462,

        472-74 (1994).

              Nor does this case warrant en banc rehearing of the stay panel’s

        decision or initial hearing en banc. Plaintiffs do not make out any conflict

        between the stay panel’s decision and any decision of this Court or the

        Supreme Court. And in attempting to generate the extreme importance that

        might justify these extraordinary steps, plaintiffs repeatedly mischaracterize

        the stakes of this case, contending that the stay panel’s decision would leave


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        them with no avenue for judicial review of their constitutional claims. But as

        explained, there are no bona fide constitutional claims at issue in this appeal.

        And if plaintiffs believe the agencies’ grant terminations were unlawful, they

        may seek review in the Court of Federal Claims. Moreover, this case has

        been expedited such that plaintiffs can present their arguments to a merits

        panel in short order—indeed, the government has already filed its opening

        brief. Plaintiffs do not need initial hearing en banc if their claims are

        meritorious, and pretermitting the ordinary appellate process is

        unwarranted.

                                         STATEMENT

              1. Shortly after his inauguration, the President issued several

        Executive Orders setting forth his Administration’s priorities and instructing

        agencies to pause funding to the extent permitted by law to allow review of

        whether the funding aligns with those priorities. For example, Executive

        Order 14,154, 90 Fed. Reg. 8353 (Jan. 29, 2025), titled Unleashing American

        Energy, declares the policy of the United States to encourage certain

        “energy exploration and production,” guarantee the accessibility of “an

        abundant supply of reliable energy,” and ensure no federal funding is

        “employed in a manner contrary to the principles outlined in this section,


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        unless required by law,” id. § 2(a), (c), (i). The Executive Order further

        instructs agencies to “immediately pause the disbursement of funds” under

        two statutes—the Inflation Reduction Act (IRA) and the Infrastructure

        Investment and Jobs Act (IIJA)—to assess “consistency with the law and the

        policy outlined in” the Executive Order. Id. § 7(a).

              As relevant to this appeal, this case involves 32 grants across

        approximately 20 funding programs that generally encompass environmental

        or agricultural projects and that are administered by the Environmental

        Protection Agency, the Department of Agriculture, the Department of

        Transportation, or the Department of Energy. See J.A. 26-30. In almost all

        cases, funds for those grant programs were appropriated by the IRA, Pub.

        L. No. 117-169, 136 Stat. 1818 (2022); the IIJA, Pub. L. No. 117-58, 135 Stat.

        429 (2021); or the American Rescue Plan Act of 2021, Pub. L. No. 117-2, 135

        Stat. 4. See J.A. 2125-2139 (cataloguing relevant statutory provisions for each

        grant at issue).

              Shortly after the President’s Executive Orders, the obligation and

        disbursement of funds under each grant were temporarily paused pending a

        review of the funding for consistency with the Administration’s priorities.

        Over the ensuing months, however, the agencies began to decide whether to


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        terminate or retain grants. By April 22, the agencies had closed or

        terminated, or were in the process of terminating, 12 grants; they had

        unfrozen or were in the process of unfreezing 14 grants, including some

        grants where funding was being restored pursuant to an injunction in a

        different case; and they continued to freeze obligations and disbursements on

        three grants. See J.A. 26-30; see also J.A. 2370 (clarifying that grant 8, which

        was originally listed as closed, was in the process of being terminated).

        Finally, the awarding of three of the grants had not been finalized before

        that process was paused; those awards remained pending as of April 22. See

        J.A. 26-30.

              2. Plaintiffs are 13 community groups and six cities who allege that

        they were awarded, or are subrecipients of, those 32 grants. See J.A. 66.

        They allege that the freezing and termination of their grants contravene the

        relevant statutes, violate the “separation of powers” and “Presentment

        Clauses” by contravening the relevant statutes, violate the requirements of

        the APA, and violate the First Amendment. See J.A. 137-148. Among other

        relief, plaintiffs sought an injunction prohibiting the freezing or termination

        of grants and prohibiting the agencies from “impeding, blocking, cancelling,

        or terminating Plaintiffs’ access to their funds.” J.A. 149-152.


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              Plaintiffs filed a motion for a preliminary injunction, in which they

        sought “injunctive relief to restore the federal grants awarded to Plaintiffs.”

        Dkt. No. 24-1, at 1. On April 9, the government responded to that motion,

        explaining both that the district court lacked jurisdiction over plaintiffs’

        claims and that the agencies’ actions comported with the relevant law. See

        Dkt. No. 56, at 9-31. The district court entered an order rejecting the

        government’s jurisdictional arguments. See J.A. 34-44.

              Then, rather than proceeding to resolve plaintiffs’ pending

        preliminary-injunction motion, the district court ordered the government to

        provide documents related to the freezing or termination of many of the

        grants and related generally to the freezing of grants under the IRA and

        IIJA—discovery that was in addition to the “thousands of documents” that

        the government had produced in response to an earlier order of the district

        court. J.A. 45-46. Over the following two weeks, the government provided

        additional discovery on an expedited basis, even as plaintiffs’ preliminary-

        injunction motion remained pending.

              Shortly before another hearing on that motion, the government agreed

        not to “contest judgment on the merits of Plaintiffs’ APA claims” as applied

        to the 32 grants now at issue to “find common ground and move quickly


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        towards final judgment.” Dkt. No. 153, at 1. The government explained that

        it maintained, and was willing to stand on, its jurisdictional objections. Id.

              3. The district court then entered both a permanent and preliminary

        injunction on plaintiffs’ claims challenging the freezing or termination of the

        32 grants. First, as to plaintiffs’ APA claims, the court accepted the

        government’s consent to the entry of judgment. As relief, the court declared

        “that the freeze and/ or termination” of the grants was “ultra vires” and “in

        violation of the United States Constitution”; set aside “the freeze and/or

        termination” of the grants and “direct[ed] the Enjoined Agencies to restore

        Plaintiffs[’] access to grant funds immediately”; and enjoined the agencies

        “from freezing, terminating or otherwise interfering with the funding of” the

        grants “without written authorization from this Court.” J.A. 8.

              Second, the district court addressed plaintiffs’ “nonstatutory review”

        claims, which were predicated on the assertion that the defendants

        “exceeded the scope of their authority and/or acted unconstitutionally by

        failing to faithfully execute the laws of the United States.” J.A. 10 (alteration

        and quotation omitted). The court stated—without substantial elaboration—

        that plaintiffs were likely to succeed on the merits and that the nonstatutory

        review claims “are, for all practical purposes, mirror images” of the APA


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        claims “which Defendants have elected not to contest.” J.A. 14. Based on

        those conclusions, the district court entered a preliminary injunction on

        plaintiffs’ nonstatutory review claims, which generally mirrors the

        permanent injunction entered on plaintiffs’ APA claims.

              4. The government appealed and moved for a stay of the injunctions

        pending appeal. This Court granted that motion. The stay panel concluded

        that the government “is likely to succeed in showing that the district court

        lacked subject matter jurisdiction over Plaintiffs’ claims.” Order 3, June 5,

        2025 (Stay Op.) (quotation omitted).

              The stay panel explained that “[t]his case is much like Department of

        Education v. California.” Stay Op. 3; see 145 S. Ct. 966 (2025) (per curiam).

        In California, the plaintiffs challenged “the cancellation of grants that were

        funded generally by an authorizing statute but awarded specifically to each

        grantee by an operative grant agreement,” and the district court entered “an

        injunction which set aside the grant cancellations and prohibited the

        Government from” suspending or withholding “funds approved and obligated

        for the grants.” Id. (quotation omitted). The Supreme Court stayed that

        injunction, concluding that “the Government was likely to succeed in showing

        the District Court lacked jurisdiction to order the payment of money under


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        the APA.” Id. (quotation omitted). As the stay panel explained, the Supreme

        Court’s conclusion was based on the principle that the “APA’s limited waiver

        of immunity does not extend to orders to enforce a contractual obligation to

        pay money”; instead, “the Tucker Act grants the Court of Federal Claims

        jurisdiction over suits based on any express or implied contract with the

        United States.” Stay Op. 3-4 (quotation omitted).

              The stay panel concluded that the district court likely lacked

        jurisdiction over plaintiffs’ claims for the same reason. As the panel

        explained, plaintiffs “assert similar claims” to the plaintiffs in California:

        they “allege the Government violated the APA by suspending and canceling

        certain grants” and, “like the grants in California, the grants here were

        awarded by federal executive agencies to specific grantees from a

        generalized fund.” Stay Op. 4. Thus, the panel explained, “it is the operative

        grant agreements”—not the underlying statutes—that “entitle any

        particular Plaintiff to receive federal funds.” Id.

              Moreover, the panel concluded it was unlikely that plaintiffs could use

        their ultra vires claims as “a detour around the Tucker Act.” Stay Op. 4-5.

        The panel explained that courts’ power “to enjoin unlawful executive action”

        is constrained by “implied statutory limitations” and that the “express


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        provision of one method of enforcing a substantive rule suggests that

        Congress intended to preclude others.” Stay Op. 5 (quoting Armstrong v.

        Exceptional Child Ctr., Inc., 575 U.S. 320, 327-28 (2015)). Finally, the panel

        concluded that the government had demonstrated the requisite irreparable

        harm to support a stay pending appeal “because it is being forced to disburse

        funds from a finite appropriation” under the injunctions and may not “recoup

        those funds once expended.” Id.

              Judge Heytens dissented. In his view, the jurisdictional questions

        presented by the case “are novel and difficult” and “could end up being

        resolved in favor of either party after full briefing and argument.” Stay Op. 6

        (Heytens, J., dissenting). But “[a]t this point,” he did not “believe the

        defendants have made a sufficiently strong showing that they are likely to

        succeed on the merits to warrant the extraordinary equitable relief of a stay

        pending appeal.” Id. (quotation omitted).

                                         ARGUMENT

              A.    The Stay Panel Properly Rejected Plaintiffs’ Attempt
                    to Evade the Tucker Act’s Limitations

              In their petition, plaintiffs do not dispute the stay panel’s primary

        conclusion that the Tucker Act precludes plaintiffs’ APA claims, which are

        essentially contractual claims that must be brought in the Court of Federal

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        Claims. Instead, plaintiffs focus entirely on the stay panel’s rejection of their

        attempt to evade the Tucker Act’s limitations by recasting those same claims

        as ones seeking “non-statutory review of constitutional violations by federal

        officials grounded in the separation of powers and the Presentment Clause.”

        Pet. 8. According to plaintiffs, the Tucker Act is irrelevant to the question

        whether they can bring nonstatutory claims in district court. Pet. 9-10. And

        in plaintiffs’ view, by interpreting the Tucker Act to bar plaintiffs from

        bringing their supposedly constitutional claims in any forum, the stay panel

        has cast doubt on the constitutionality of that statute. Pet. 11-12.

              Plaintiffs’ arguments fail on all levels. Plaintiffs’ nonstatutory review

        claims, like their APA claims, are subject to the Tucker Act’s limits (and are,

        in any event, unavailing on the merits). And plaintiffs’ attempt to evade the

        Tucker Act’s limitations by labeling their claims “constitutional” is

        unpersuasive. Regardless of whether the Tucker Act may preclude parties

        from bringing bona fide constitutional claims in district court, plaintiffs here

        present no such claims. Instead, their claims are statutory ones subject to

        usual judicial-review limitations.

              1. As the stay panel properly recognized, plaintiffs may not properly

        evade the Tucker Act’s limitations by labeling their claims as “nonstatutory


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        review” claims. Because nonstatutory review “could become an easy end-run

        around the limitations” of “judicial-review statutes,” the Supreme Court’s

        “cases have strictly limited” that review. Nuclear Regulatory Comm’n v.

        Texas, No. 23-1300, slip op. at 14 (U.S. June 18, 2025). Among other limits,

        nonstatutory review is “unavailable if, as is usually the case, a statutory

        review scheme provides aggrieved persons ‘with a meaningful and adequate

        opportunity for judicial review.’” Id. at 15 (quoting Board of Governors of the

        Fed. Reserve Sys. v. MCorp Fin., Inc., 502 U.S. 32, 43 (1991)). Moreover, in

        circumstances where such review is available, it allows a plaintiff to obtain (at

        most) “equitable relief,” Strickland v. United States, 32 F.4th 311, 366 (4th

        Cir. 2022), in cases where an agency has “plainly act[ed] in excess of its

        delegated powers”—a standard that captures “only extreme agency error,

        not merely garden-variety errors of law or fact,” DCH Reg’l Med. Ctr. v.

        Azar, 925 F.3d 503, 509 (D.C. Cir. 2019) (alterations and quotations omitted);

        see also Nuclear Regulatory Comm’n, slip op. at 15 (explaining that

        nonstatutory review requires that the agency have acted “contrary to a

        specific prohibition in a statute” (quotation omitted)).

              Here, those limits render plaintiffs unable to succeed on their

        nonstatutory review claims, just as they are unable to succeed on their APA


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        claims. First, plaintiffs have an adequate means of vindicating their asserted

        right to grant funds, because they may bring contract actions in the Court of

        Federal Claims. Such actions would allow them to recover as damages any

        grant funds to which they are lawfully entitled. Moreover, as the stay panel

        properly recognized, federal courts’ equitable authority “to enjoin unlawful

        executive action” is constrained by “implied statutory limitations.” Stay Op. 5

        (quoting Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015)).

        Thus, because Congress has directed that essentially contractual claims like

        plaintiffs’ must be brought under the Tucker Act, that statute precludes

        plaintiffs’ nonstatutory claims just as it precludes plaintiffs’ APA claims.

              Second, in any event, plaintiffs’ nonstatutory review claims would fail

        on the merits. As the stay panel properly recognized, the grants at issue here

        are generally “funded and authorized by omnibus appropriations statutes,”

        and the agencies awarded the grants “to specific grantees from” the

        “generalized fund” created by the statutes. Stay Op. 4. As that description

        suggests, plaintiffs have not contended that any provision of the relevant

        statutes requires the government to fund plaintiffs’ grants specifically—

        instead, the statutes provide the agencies with broad discretion to select

        grant recipients to fund with the general pool. Nor have plaintiffs contested


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        that the agencies in fact have statutory authority to pause or terminate grant

        funding in certain circumstances even after grants are awarded. Instead of

        identifying any such clear statutory limitation that the agencies

        transgressed, plaintiffs’ primary theory, accepted by the district court, is that

        the agencies’ exercise of their statutory authority was arbitrary and

        capricious—not that they had no statutory authority at all. Cf. J.A. 14

        (concluding that the agencies acted improperly because their decisions were

        based on their “disapproval of the purposes of the funding”). And that theory

        cannot meet the high bar required to succeed on a nonstatutory review claim.

              2. Plaintiffs do not develop a substantial argument that their claims

        could meet the ordinary standards for nonstatutory review. Instead, they

        contend that those ordinary standards do not apply and that precluding

        review of their claims would generate serious constitutional questions

        because their claims allege “constitutional”—and not merely “statutory”—

        violations. See Pet. 11-12; see also Pet. 12-13 (claiming the stay panel’s

        reliance on Armstrong and MCorp, which make clear that nonstatutory

        review is subject to implied statutory limits, was misplaced because those

        cases concerned alleged statutory, not constitutional, violations). But

        plaintiffs are incorrect, because plaintiffs advance no bona fide constitutional


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        claims. Nothing about this appeal will resolve the proper forum for a claim

        based, for example, on the equal protection component of the Due Process

        Clause or some other constitutional right.

              As the Supreme Court explained in Dalton v. Specter, 511 U.S. 462

        (1994), not “every action by the President, or by another executive official, in

        excess of his statutory authority is ipso facto in violation of the Constitution.”

        Id. at 472. Rather, the Court has carefully “distinguished between claims of

        constitutional violations and claims that an official has acted in excess of his

        statutory authority.” Id. (collecting cases). The Constitution is implicated if,

        for example, executive officers rely on it as an independent source of

        authority to act, as in Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579

        (1952), or if the officers rely on a statute that itself violates the Constitution.

        See Dalton, 511 U.S. at 473 & n.5. But claims alleging simply that an official

        has “exceeded his statutory authority are not ‘constitutional’ claims” that can

        be asserted through a direct cause of action. Id. at 473.

              Here, plaintiffs’ asserted constitutional claims are really “statutory

        one[s],” Dalton, 511 U.S. at 474, as they assert that the agencies have

        exceeded their statutory authority. Any statutory claim could be

        recharacterized as a violation of the constitutional “separation of powers,”


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        J.A. 138-139, or as “amend[ing]” the relevant statutes in violation of the

        Presentment Clause, J.A. 140-141, but that is precisely the sleight of hand

        rejected in Dalton. The stay panel properly rejected it here too.

              In response, plaintiffs argue (Pet. 14-15) that their claims are bona fide

        constitutional claims because they assert that “Executive Branch officials

        targeted for termination the very policies Congress chose to put in place.”

        But that is exactly the point: plaintiffs’ claims boil down to (incorrect)

        assertions that the agencies violated the relevant statutes—that is, the

        provisions that Congress “put in place”; if the government is correct that the

        terminations complied with the relevant statutes, plaintiffs would have no

        independent constitutional argument.

              Nor do plaintiffs advance the ball with their brief discussion of the D.C.

        Circuit’s recent decision in Widakuswara v. Lake, No. 25-5144, 2025 WL

        1521355 (D.C. Cir. May 28, 2025) (en banc) (per curiam), vacating in part

        2025 WL 1288817 (D.C. Cir. May 3, 2025) (per curiam). Regardless whether

        the D.C. Circuit’s decision was correct, that case involved allegations that the

        relevant statutes “required allocation of funds to th[e] specific, named”

        plaintiffs. Widakuswara, 2025 WL 1288817, at *11 (Pillard, J., dissenting).

        The court’s determination that claims to enforce that asserted statutory


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        entitlement could proceed in district court has no relevance here, because (as

        the stay panel correctly explained) it is only “the operative grant

        agreements”—and not any statute—“which entitle any particular Plaintiff to

        receive federal funds.” Stay Op. 4.

              B.    En Banc Review of the Stay Panel’s Decision or Initial
                    En Banc Hearing of the Merits Is Unwarranted

              Courts of appeals ordinarily hear cases as panels of three judges. See

        28 U.S.C. § 46(b). The Federal Rules of Appellate Procedure provide that

        hearing a case en banc “is not favored.” Fed. R. App. P. 40(c). And initial

        hearing en banc is particularly extraordinary. The “orderly and customary”

        procedure is not to hear a case en banc before a panel of the Court has heard

        the case at all. Belk v. Charlotte-Mecklenburg Bd. of Educ., 211 F.3d 853,

        854 (4th Cir. 2000) (Wilkinson, C.J., concurring in the denial of initial hearing

        en banc).

              Plaintiffs provide no compelling justification for the en banc Court to

        review the stay panel’s decision—much less for the Court to take the

        extraordinary step of hearing the appeal initially en banc. Plaintiffs have not

        persuasively identified any conflict between the stay panel’s decision and any

        decision of this Court or the Supreme Court. To the contrary, each of

        plaintiffs’ assertions of such a conflict rest on their characterization of their

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        claims as “constitutional.” See Pet. 1-2. That characterization is erroneous, as

        explained.

              Additionally, although plaintiffs do not address this issue in their

        petition, the government’s stay motion explained that the district court

        lacked jurisdiction over their claims for the separate reason that the relevant

        agency actions are committed to agency discretion by law. See Stay Mot. 16-

        20. Plaintiffs have not contended that this separate issue is independently

        worthy of en banc consideration, and any review of the issues presented by

        plaintiffs’ petition would necessarily be complicated by the need to address

        that separate, threshold jurisdictional objection before plaintiffs could

        prevail.

              Plaintiffs argue that en banc intervention is warranted because the

        stay panel’s approach “would enable the Executive Branch to evade judicial

        review” and because plaintiffs are suffering harm from the loss of their

        funding. Pet. 15-17. But if plaintiffs believe that the government’s actions are

        not consistent with the terms of their grant agreements or any statutes or

        regulations incorporated into those agreements, plaintiffs may file suit in the

        Court of Federal Claims. At that point, plaintiffs may obtain any funds to

        which they are lawfully entitled, thereby redressing the essentially monetary


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        harm that they allege. The issue in this appeal is simply where—not

        whether—plaintiffs may obtain review.

              Plaintiffs fare no better in contending that en banc intervention is

        warranted because the “questions presented in this case affect other matters

        pending in” district courts in this Circuit. Pet. 15-16. It will often be the case

        that a court of appeals opinion will affect other matters currently pending in

        district court; that fact does not generate the extreme importance required

        to justify en banc review.

              Moreover, the merits of the appeal are already proceeding on an

        expedited schedule. The government filed its opening brief last week, and

        briefing will conclude by July 14. A merits panel of the Court is thus poised

        to consider these appeals in short order, and there is no need for the en banc

        Court to pretermit that consideration. If further review is warranted after

        the panel decision, the aggrieved party may seek en banc or Supreme Court

        review in the ordinary course.




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                                       CONCLUSION

              For the foregoing reasons, the petition for rehearing en banc of the

        stay panel’s decision and for initial hearing en banc should be denied.


                                                   Respectfully submitted,

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        June 2025




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                            CERTIFICATE OF COMPLIANCE

              This response complies with the type-volume limit established in this

        Court’s order of June 13, 2025, because it contains 3877 words, according to

        the count of Microsoft Word. This response complies with the typeface and

        type-style requirements of Federal Rule of Appellate Procedure 32(a)(5)-(6)

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        point font, a proportionally spaced typeface.



                                                     s/ Sean R. Janda
                                                    Sean R. Janda
